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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

LISA HILL-GREEN, on behalf of
herself and all others similarly situated,

               Plaintiffs,                                  Civil Action No. 3:19-cv-708

v.

EXPERIAN INFORMATION SOLUTIONS,
INC.,

               Defendant.

     MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

       Plaintiff Lisa Hill-Green, on behalf of herself and the Settlement Class Members, by

Counsel, submits this Motion for Preliminary Approval of Class Action Settlement. The

Settlement Agreement is attached as Exhibit 1, and for the reasons explained in the

contemporaneously filed memorandum of law, Plaintiffs request that the Court enter the Proposed

Order conditionally certifying the class for purposes of settlement, appointing class counsel,

appoint the class administrators, directing notice to the class, and scheduling a final fairness

hearing.

                                             Respectfully submitted,
                                             LISA HILL-GREEN,
                                             individually and on behalf of all
                                             others similarly situated

                                             By: /s/ Kristi C. Kelly
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                                             Andrew J. Guzzo, VSB #82170
                                             Casey S. Nash, VSB #84261
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